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                  UNITED STATES DISTRICT COURT
                   CEN RAL DISTRICT OF ILLINOIS                        MAR -1 2022
                      SPRINGFIELD DIVISION
                                                                          °F THE COURT
                                                            __ DIST ICT COURT
UNITED STA ES OF AMERICA,                                   CENTRAL DISTRICT Of lINOIS

     Plaintiff,

                                               Criminal No. 22-CR- 30C>o
                                               VIO: 18 U.S.C. § 922(g)(9)
EVON D. BERRY,

     Defendant.

                             INDICTMENT                    FILED
                                                               MAY 1 2 2022
THE GRAND JURY CH RGES:
                                                           Clerk, U.S. District Court
                                                           Eastern Distric of Texas
     On or about December 31, 20 1, in Sangamon County, in the

Central District of Illinois, the defendant,

                           EVON D. BERRY,

knowing that he had previously been convicted in state court of a

misdemeanor crime of domestic violence, did knowingly possess a

firearm, one Taurus 9 mm handgun bearing serial number

TJ061135, said firearm having been shipped and tr nsported in

interstate commerce.

     In violation of Title 18, United States Code, Section 922(g)(9).




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                      NOTICE OF FORFEITURE

     Upon conviction for the offense alleged in this Indictment, the

defenda t,

                          EVON D. BERRY.

shall forfeit to the United States, pursua t to itle 18, United States

Code, Section 924(d), and itle 28, United States Code, Section

2461(c), all firearms and all ammunition seized during this

investigation involved in the commission of said offenses, including,

but not limited to, the firearm identified in the foregoing count one

of this Indictment.

                                     A TRUE BILL,




GREGORY K. HARRIS
UNITED STATES ATTORNEY
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